          Case 7:19-cr-00916-NSR Document 27 Filed 10/16/20 Page 1 of 2




                                                        October 16, 2020

Via ECF                                                     The application is granted without objection from the
Hon. Nelson S. Roman                                        Government. Defendant's motion is due November 9,
                                                            2020 the Government's response is due December
United States District Judge
                                                            11, 2020 and Defense's reply is due December 21,
Southern District of New York                               2020. The Clerk of the Clerk is kindly directed to
300 Quarropas St.                                           terminate the motion at ECF No. 26.
White Plains, NY 10601
        Re: United States v. Yosef Ziegler, 19-cr-916
                                                        Dated: 10/16/2020
Dear Judge Roman:                                       White Plains, NY


        We respectfully write to request a three-week adjournment of the motion schedule in this
case.

        We have recently begun renewed discussions with the U.S. Attorney’s Office about the
possibility of resolving this case via plea instead of proceeding with motion practice. We believe
the requested adjournment will provide sufficient time to continue these discussions and for Mr.
Ziegler to decide how he wants to proceed. We therefore respectfully request a three-week
adjournment of the briefing scheduled. The current schedule is:

              Defense Motions Due: October 19;
              Government Response Due: November 20;
              Defense Reply Due: November 30.
        The new proposed deadlines would be:

              Defense Motions Due: November 9;
              Government Response Due: December 11;
              Defense Reply Due: December 21.




                                                                                      10/16/2020
        Case 7:19-cr-00916-NSR Document 27 Filed 10/16/20 Page 2 of 2




      I have spoken to AUSA Courtney Heavy and she has no objection to this request.



                                         Respectfully submitted,
                                            /s/
                                         Susan R. Necheles
                                         Gedalia Stern
cc: AUSA Courtney Heavey




                                             2
